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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MINNESOTA

SMARTMATIC USA CORP.,                            )
SMARTMATIC INTERNATIONAL                         )
HOLDING B.V., and SGO                            )
CORPORATION LIMITED,                             )
                                                 )
                                Plaintiffs,      )
                                                 )
                   v.                            )    Case No. 0:22-cv-00098-WMW-JFD
                                                 )
MY PILLOW, INC. and                              )
MICHAEL J. LINDELL,                              )
                                                 )
                                Defendants.      )


             DEFENDANT MICHAEL J. LINDELL’S MOTION TO DISMISS

        1.         Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant

Michael J. Lindell (“Lindell”) moves to dismiss the Complaint (ECF No. 1) against Lindell

in its entirety.

        2.         Arguments in support of this Motion are set forth in the accompanying

Memorandum of Points and Authorities in Support of Defendant Michael J. Lindell’s

Motion to Dismiss and Exhibits in support of that Memorandum of Law.

        3.         Defendant Michael J. Lindell respectfully requests the opportunity for oral

argument on his motion.




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Dated: March 21, 2022.                  MOHRMAN, KAARDAL &
                                        ERICKSON, P.A.

                                        /s/William F. Mohrman
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                                        Lindell




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